                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA,                    )
                                             )
              Plaintiff,                     )
                                             )
v.                                           )      No.:     3:13-CR-45-TAV-CCS-32
                                             )
JAMES PERRY PHILLIPS,                        )
                                             )
              Defendant.                     )


                      MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s motion for a sentence

reduction [Docs. 1673]. In the defendant’s motion, the defendant requests that the Court

resentence him pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendment

782 and Amendment 788 to the United States Sentencing Guidelines Manual. The

government has responded [Doc. 1689]. The government asserts that the defendant is not

eligible for relief because he was sentenced to the statutory mandatory minimum

sentence.

I.      Standard of Review

        “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):

        [I]n the case of a defendant who has been sentenced to a term of
        imprisonment based on a sentencing range that has subsequently been
        lowered by the Sentencing Commission . . . , the court may reduce the term



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      of imprisonment, after considering the factors set forth in section 3553(a) to
      the extent that they are applicable, if such a reduction is consistent with
      applicable policy statements issued by the Sentencing Commission.

The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

to a term of imprisonment based on a sentencing range that has subsequently been

lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758

(6th Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

[must be] consistent with applicable policy statements issued by the Sentencing

Commission.” Id. (internal quotation marks omitted). If the reviewing court determines

that the defendant is eligible for a sentence reduction, then “[t]he court may then

‘consider whether the authorized reduction is warranted, either in whole or in part,

according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

      In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the Court must first determine “the amended guideline range that would

have been applicable to the defendant had the relevant amendment been in effect at the

time of the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and

citation omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1). Other

than substituting Amendment 782 for the corresponding provision applicable when the

defendant was originally sentenced, the Court “shall leave all other guideline application

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decisions unaffected.” Id. And the Court “shall not” reduce a defendant’s term of

imprisonment to a term “less than the minimum of the amended guideline range,” nor to a

term “less than the term of imprisonment the defendant has already served.”                Id.

§ 1B1.10(b)(2)(A), (C). In addition to these limits, section 1B1.10 states that a court

must also consider the § 3553 factors and the danger to the public created by any

reduction in a defendant’s sentence. Id. at cmt. n.1(B). A court may further consider a

defendant’s post-sentencing conduct. Id.

II.      Analysis

         Amendment 782 to the Guidelines, which became effective on November 1, 2014,

revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels

the offense levels assigned to the drug quantities described in section 2D1.1. U.S.

Sentencing Guidelines Manual App. C, amend. 782.             Amendment 782 also makes

corresponding changes to section 2D1.11. Amendment 788, which became effective on

November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

Guidelines Manual App. C, amend. 788.

         Even if Amendment 782 were to lower the defendant’s offense level under

Chapter Two, Chapter Five provides that a defendant’s sentence may not be “less than

any statutorily required minimum sentence.” U.S. Sentencing Guidelines Manual §

5G1.1(c).1 Pursuant to U.S. Sentencing Guidelines Manual § 5G1.1(b), where a statutory


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         Section 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below a required mandatory minimum sentence—namely, if the court had the authority
to impose a sentence below the mandatory minimum pursuant to a government motion to reflect
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mandatory minimum sentence is higher than the maximum under the Guidelines, the

statutory minimum becomes the guidelines range. That was the case here.

       Accordingly, the Court lacks jurisdiction under § 3582(c) to modify the

defendant’s sentence. See, e.g., United States v. Coats, 530 F. App’x 553, 555 (6th Cir.

2013) (stating that the defendant was ineligible for a sentence reduction because the

defendant’s sentence “was not ‘based on a sentencing range that has subsequently been

lowered by the Sentencing Commission’” because “the Sentencing Commission’s

amendments to the . . . guidelines have no effect on statutory minimum sentences

mandated by Congress”); United States v. Johnson, 564 F.3d 419, 423 (6th Cir. 2009)

(finding that the district court properly concluded that because the defendant was subject

to a statutory mandatory minimum, the subsequent sentencing amendment “would not

have lowered the applicable guidelines range”); see also United States v. McPherson, 629

F.3d 609, 611–12 (6th Cir. 2011) (same).

III.   Conclusion

       For the reasons stated herein, the defendant’s motion [Doc. 1673] is DENIED.

       IT IS SO ORDERED.


                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE


the defendant’s substantial assistance to the authorities, under 18 U.S.C. § 3553(e) (providing
that a departure below a mandatory minimum sentence for a defendant’s substantial assistance
“shall be imposed in accordance with the guidelines and policy statements issued by the
Sentencing Commission pursuant to section 994 of title 28, United States Code”) and section
5K1.1 of the Sentencing Guidelines. U.S. Sentencing Guidelines § 1B1.10(c). That is not the
case here.
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